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                            UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

      vs.                                              No. 18-CR-0468 WJ

JONATHAN MCGECHIE,

               Defendant.


                        NOTICE OF SUBSTUTION OF COUNSEL

      Shammara H. Henderson (Freedman Boyd Hollander Goldberg Urias & Ward, P.A.)

hereby enters her appearance in substitution of Molly Schmidt-Nowara on behalf of Defendant

Jonathan McGechie.

                                         Respectfully Submitted,



                                         Shammara H. Henderson
                                         Freedman Boyd Hollander
                                         Goldberg Urias & Ward, P.A.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 19, 2019, I filed the foregoing document electronically

through the CM/ECF system, which caused all counsel of record to be served by electronic

means, as more fully reflected in the Notice of Electronic Filing.




                                              Shammara H. Henderson




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